                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                              CASE NO. 3:19-CV-012-GCM


PAIGE L. PAHLKE, et al.,                       )
                                               )
                       Plaintiffs,             )
                                               )   MEMORANDUM OF LAW IN SUPPORT
       v.                                      )   OF MOTION FOR ENTRY OF CONSENT
                                               )   PROTECTIVE ORDER FOR SBI FILE
JAMES PAUL BLAIR, et al.,                      )
                                               )
                       Defendants.             )

1.     INTRODUCTION

       This is an action under 42 U.S.C. § 1983 alleging that Plaintiff Jane Doe, a minor, was

sexually assaulted by James Paul Blair while Blair was employed as a police officer for the City

of Lowell.    The sexual assault was investigated by the North Carolina State Bureau of

Investigation (SBI), after which Blair plead guilty to a felony charge and is serving an active

sentence in state prison.

       The SBI will not release its investigative file to the parties herein without a protective

order first being entered. The proposed protective order that is Exhibit A to the parties’ consent

motion has been approved by counsel for both the parties and counsel for the SBI.

2.     GOOD CAUSE EXISTS FOR THE PROTECTIVE ORDER

       Fed.R.Civ.P. 26(c)(1)(B) authorizes the issuance of a protective order to specify the

“terms” for a particular “disclosure or discovery.” Where, as here, the requested protective order

is consented to by all parties, it may be entered with or without a showing of good cause. In re

Roman Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011) (“While

courts generally make a finding of good cause before issuing a protective order, a court need not




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do so where (as here) the parties stipulate to such an order.”). Nonetheless, good cause is present

here given that the SBI investigative file will aid both the parties and this Court in ascertaining

the facts and evidence related to Plaintiffs’ claims against the City of Lowell.

3.     CONCLUSION

       The parties having so stipulated, the Court is urged to adopt and enter the submitted

proposed protective order to facilitate the disclosure of the SBI investigative file.


Dated: August 14, 2019
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